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     9                          UNITED STATES DISTRICT COURT
    10                         CENTRAL DISTRICT OF CALIFORNIA
    11
         MITRA ERAMI, MARIA MCGLYNN,               Case No.: 2:15-cv-07728-PSG-PLA
    12   BRITTANY SANCHEZ, individually and
    13   on behalf of other members of the general PLAINTIFFS’ MEMORANDUM
         public similarly situated,                OF POINTS AND
    14                                             AUTHORITIES IN SUPPORT OF
    15                Plaintiffs,                  MOTION FOR ATTORNEYS’
               vs.                                 FEES AND COSTS
    16
    17   JPMORGAN CHASE BANK, National                  Date: September 10, 2018
         Association,                                   Time: 1:30 p.m.
    18                                                  Courtroom: 6A
    19               Defendant.                         Hon. Philip S. Gutierrez
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                                  PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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     1          Pursuant to the Court’s order granting Plaintiffs’ Motion for Preliminary
     2   Approval, Plaintiffs Mitra Erami, Maria McGlynn, and Brittany Sanchez
     3   (“Plaintiffs”) hereby submit the following memorandum of points and authorities
     4   in support of Plaintiffs’ Counsel’s request for attorneys’ fees and costs. (Dkt. 86.)
     5                                    INTRODUCTION
     6          From the Maximum Settlement Amount of $8,333,333, Class Counsel
     7   hereby requests an award of $2,777,777 (33% of the total settlement) plus
     8   litigation expenses of $54,665.13. Class Counsel submits that the fee request is
     9   fair and reasonable under the percentage of recovery method given the overall
    10   result; the benefit provided to the Class; the substantial risks of this litigation; and
    11   the complexity of this case and issues presented. Likewise, Class Counsel submits
    12   that using the lodestar method as a cross-check confirms the fairness and
    13   reasonableness of the fee request. Plaintiffs note that the proposed settlement has
    14   received overwhelming support from the class with 76% of the class claiming
    15   83% of the possible workweeks. Moreover, all of the Class Members were
    16   notified that Class Counsel would seek a fee of one-third of the Settlement Fund
    17   and not a single Class Member objected to that fee request. As a result, Class
    18   Counsel requests that the fee request be approved.
    19          Plaintiffs incorporate by reference herein the facts and legal discussion set
    20   forth in the Motion for Final Approval submitted concurrently with this
    21   memorandum.
    22        CLASS COUNSEL’S ATTORNEYS’ FEES SHOULD BE APPROVED
    23   A.     Plaintiffs’ Request for Attorneys’ Fees Is Evaluated Under a
                Deferential Standard.
    24
                Courts have encouraged litigants to resolve fee issues by agreement.
    25
         Hanlon v.Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998). This is consistent
    26
         with the strong public policy of encouraging and approving non-collusive
    27
         settlements, including those in class actions, and avoiding a “second major
    28
                                                    1
                                 PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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     1   litigation” arising from a request for attorneys’ fees after the matter has been
     2   resolved. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (“Ideally, of course,
     3   litigants will settle the amount of a fee.”); see also, In re M.D.C. Holdings Sec.
     4   Litig., No. CV 89-0090, 1990 U.S. Dist. LEXIS 15488, at *12 (S.D. Cal. Aug. 30,
     5   1990) (“Because this Court believes the parties should be encouraged to settle all
     6   their disputes as part of the settlement…. including the amount of the fee... if the
     7   agreed-to fee falls within a range of reasonableness, it should be approved as part
     8   of the negotiated settlement.”).
     9         In considering unopposed fee applications, district courts must account for
    10   the fact that “the parties are compromising to avoid litigation.” Laguna v. Coverall
    11   North America, 753 F.3d 918, 922 (9th Cir. June 3, 2014). Accordingly, the Ninth
    12   Circuit holds that “the district court need not inquire into the reasonableness of the
    13   fees even at the high end with precisely the same level of scrutiny as when the fee
    14   amount is litigated.” Id. (quoting Staton v. Boeing Co., 327 F.3d 938, 966 (9th Cir.
    15   2003)). Thus, while the Court must conduct an independent inquiry into the
    16   reasonableness of the fee request, it should give substantial weight to the parties’
    17   agreement as to the reasonableness of the amount of attorneys’ fees.
    18         These considerations are particularly appropriate where, as here, the parties
    19   opened up negotiations for the settlement at arm’s-length with the guidance of
    20   Mark Rudy, a well-respected mediator of wage and hour class actions. In re Apple
    21   Computer, Inc. Derivative Litig., No. C 06-4128 JF (HRL), 2008 U.S. Dist.
    22   LEXIS 108195 (N.D. Cal. Nov. 5, 2008) (mediator’s participation weighs
    23   considerably against any inference of a collusive settlement); In re Atmel Corp.
    24   Derivative Litig., 2010 U.S. Dist. LEXIS 145551 (N.D. Cal. June 25, 2008)
    25   (same); D’Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001) (a “mediator’s
    26   involvement in pre-certification settlement negotiations helps to ensure that the
    27   proceedings were free of collusion and undue pressure.”). At all times the
    28   settlement negotiations were adversarial and non-collusive, and the resulting
                                                    2
                                 PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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   1   settlement of attorneys’ fees, as a function of the overall settlement value, is
   2   likewise fair, reasonable, and free of collusion.
   3   B.    Plaintiffs’ Request for Attorneys’ Fees is Reasonable as a Percentage
             of the Common Fund.
   4
             The Supreme Court has consistently recognized that “a litigant or a lawyer
   5
       who recovers a common fund for the benefit of persons other than himself or his
   6
       client is entitled to reasonable attorney’s fee from the fund as a whole.” Boeing
   7
       Company v.Van Gemert, 444 U.S. 472, 478 (1980); Mills v. Auto-Lite Co., 396
   8
       U.S. 375, 392-93 (1970). The common fund doctrine is a well-recognized
   9
       exception to the general American rule that a litigant must bear its own attorneys’
  10
       fees. Alyeska Pipeline Service Co. v. Wilderness Society, 421 U.S. 240, 257-58
  11
       (1975).
  12
             The common fund doctrine applies when: (1) the class of beneficiaries is
  13
       sufficiently identifiable; (2) the benefits can be accurately traced; and (3) the fee
  14
       can be shifted with some exactitude to those benefitting. Paul, Johnson, Alston &
  15
       Hunt v.Graulty, 886 F.2d 268, 271 (9th Cir. 1989). These criteria are “easily met”
  16
       where—as here—“each [class member] has an undisputed and mathematically
  17
       ascertainable claim to part of a lump-sum settlement recovered on his behalf.’” Id.
  18
       at 271, citing Van Gemert, supra, 444 U.S. at 479.
  19
             District courts presiding over common fund cases have the discretion to
  20
       award attorneys’ fees based on either the lodestar method or the percentage
  21
       method proposed here. Chem. Bank v. City of Seattle (In re Wash. Pub. Power
  22
       Supply Sys. Sec. Litig.), 19 F.3d 1291, 1296 (9th Cir. 1994). Notwithstanding that
  23
       discretion, use of the percentage method is the “dominant” approach in common
  24
       fund cases. See, e.g., Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1047 (9th Cir.
  25
       2002); Six Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1311 (9th
  26
       Cir. 1990); Paul, Johnson, Alston, & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir.
  27
       1989); In re Omnivision Techs., 559 F. Supp. 2d 1036, 1046 (N.D. Cal. 2007).
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   1         The Ninth Circuit has generally established 25% of a common fund as a
   2   “benchmark” award for attorney fees. Vizcaino, 290 F.3d at 1047. However, the
   3   “exact percentage [awarded] varies depending on the facts of the case, and in
   4   most common fund cases, the award exceeds that benchmark.” Vasquez v.
   5   Coast Valley Roofing, Inc., 266 F.R.D. 482, 491 (E.D. Cal. 2010) (emphasis
   6   added). Within the Ninth Circuit, it is generally recognized that “it is common
   7   practice to award attorney’s fees at a higher percentage than the twenty-five
   8   percent (25%) benchmark in cases that involve a relatively small – i.e., under ten
   9   million dollar ($10 Million) – settlement fund. Greko v. Diesel, U.S.A., Inc., 2013
  10   WL 1789602 (N.D. Cal. April 26, 2013).
  11         Indeed, district courts within this circuit routinely award attorneys’ fees of
  12   approximately one-third of the common fund, particularly for wage and hour class
  13   action settlements. See, e.g., Barbosa v. Cargill Meat Solutions Corp., 297 F.R.D.
  14   431 (E.D. Cal. July 2, 2013) (awarding one-third percent in wage and hour class
  15   action); Vasquez, 266 F.R.D. at 491-92 (awarding one-third percent in wage and
  16   hour class action); Singer v. Becton Dickinson & Co., 2010 U.S. Dist. LEXIS
  17   53416, at *22-23 (S.D. Cal. Jun. 1, 2010) (noting that the amount of one-third of
  18   the common fund for a wage and hour class action settlement “falls within the
  19   typical range” of fee awards); Stuart v. Radioshack Corp., 2010 U.S. Dist. LEXIS
  20   92067 (N.D. Cal. Aug. 9, 2010) (awarding one-third of settlement fund in wage
  21   and hour class action and noting that “[t]his is well within the range of
  22   percentages which courts have upheld as reasonable in other class action
  23   lawsuits”); Bernal v. Davita, Inc., No. 5:12-cv-03255-PSG, *1-2 (N.D. Cal. Jan.
  24   14, 2014) (awarding one-third of the settlement fund in wage-and-hour class
  25   action). Such awards are likewise routinely upheld by the Ninth Circuit. See, e.g.,
  26   In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 463 (9th Cir. 2000) (affirming
  27   one-third of the common fund); In re Pac. Enterprises Sec. Litig., 47 F.3d 373,
  28   378-79 (9th Cir. 1995) (affirming one-third of a $12 million common fund).
                                                 4
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   1         And while the exact percentage depends on the facts of the case, the
   2   calculation of attorneys’ fees is always a percentage of the entire potential benefit
   3   created by class counsel, rather than just the amount claimed against the fund. See
   4   Williams v. MGMPatheCommc’ns Co., 129 F.3d 1026, 1027 (9th Cir. 1997); Six
   5   Mexican Workers, 904 F.2d at 1311 (“The Supreme Court has stated that
   6   attorneys’ fees sought under a common fund theory should be assessed against
   7   every class members’ share, not just the claiming members.”). Accordingly,
   8   Plaintiffs’ request for attorneys’ fees in the amount of $2,777,777, or 33% of the
   9   $8,333,333 common fund, is consistent with established Ninth Circuit precedent.
  10         The Court’s determination of a fair and reasonable attorney fee must take
  11   into account all of the circumstances of the case, including: 1) the result achieved;
  12   2) the risk involved in the litigation; 3) the skilled required and quality of work by
  13   counsel; 4) the contingent nature of the fee; and 5) awards made in similar cases.
  14   Ching v. Siemens Industry, Inc., 2014 WL 2926210, at *7 (N.D. Cal., June 27,
  15   2014); Vizcaino, 290 F.3d at 1048-50.
  16         1.     The Result Achieved
  17         The overall result and benefit to the Class from the litigation is generally
  18   the most critical factor in granting a fee award. Ching, 2014 WL 2926210, at *7.
  19   Here, the results achieved are exceptional.
  20         First, the response by the Class is overwhelmingly positive. Fully 76% of
  21   the Class Members claimed approximately 83% of the total workweeks available.
  22   Defendant had negotiated a floor of 65% of the recovery and that metric was
  23   surpassed by a considerable measure. Relatedly, the overwhelmingly positive
  24   response by Class is demonstrated in the lack of a single objection to any aspect of
  25   the settlement – including the requested fee. Additionally, only one person out of
  26   2,060 decided to opt-out of the settlement. These figures underscore that the result
  27   achieved was excellent.
  28         Second, the amount received by the Class Members is significant. As
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   1   reported in the accompanying Motion for Final Approval, Class Members will
   2   receive on average $2,818.02 with some Class Members receiving up to
   3   $7,244.37. And these amounts will increase because of the interest earned on the
   4   Settlement Fund that Class Counsel negotiated for the benefit of the Class. Putting
   5   these figures in perspective, these amounts are ten times higher than the amount
   6   approved by this Court in the related case, Hightower v. JPMorgan Chase Bank,
   7   C.D. Cal. Case No. 11-cv-01802-PSG (PLAx), where class members received
   8   $200 on average.
   9         2.     The Risk Involved in the Litigation
  10         The risks of litigation in this case were substantial. Defendant was alleging
  11   both the administrative and executive exemptions as affirmative defenses
  12   including the so-called “combination” exemption, i.e., a combination of both
  13   exemptions. In support of its defense on the merits, Defendant maintained that
  14   regardless of whether Class Members claim to have been engaged in non-exempt
  15   work most of the time, such activity was inconsistent with the realistic
  16   expectations of the position. While Plaintiff contends that the realistic
  17   expectations are to be primarily engaged in non-exempt work, Defendant pointed
  18   to various documents such as the job description, performance reviews, emails,
  19   and disciplinary notices to argue that the realistic expectation for ABMs was to be
  20   primarily engaged in exempt work. If such a determination was made, there is a
  21   possibility that Defendant could have prevailed. See, e.g., Musgraves v. Sears
  22   Holding Mgmt. Corp., 2012 WL 3222905, at *1-2 (C.D. Cal. July 19, 2012). In
  23   Musgraves, the court granted the employer’s motion for summary judgment on the
  24   plaintiff’s exempt status despite plaintiff’s dispute that he spent the majority of his
  25   time engaged in non-exempt work. The court found that the employer’s
  26   expectation that the plaintiff spent most of his time engaged in exempt work was
  27   realistic and entered judgment accordingly. Id. at *8.
  28         In addition to the merits of the claim, there is also the risk that the case
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   1   would not be certified. Many courts have denied class action status in cases
   2   involving assistant manager positions due to the variations in how assistant
   3   managers spend their time. See, e.g., Patel v. Nike Retail Servs., Inc., 2016 WL
   4   1241777    (N.D. Cal. Mar. 29, 2016)             (denying    class certification of
   5   misclassification claims on behalf of retail assistant managers); Zackaria v. Wal-
   6   Mart Stores, Inc., 2015 WL 2412103, at *16 (C.D. Cal. May 18, 2015) (finding
   7   that plaintiffs could not satisfy predominance requirements in misclassification
   8   case despite evidence that assistant managers were “classifie[d] uniformly as
   9   exempt” and “overall job expectations [we]re roughly identical”); Casida v. Sears
  10   Holding Corp., 2012 WL 3260423 (E.D. Cal. Aug. 8, 2012) (“The [blanket
  11   exemption] policies at issue here do not tell the Court with any specificity how
  12   AMs actually spend their time.”); Gales v. Winco Foods, 2011 WL 3794887, at
  13   *10 (N.D. Cal. Aug. 26, 2011) (“Although [WinCo’s uniform classification of
  14   AMs as exempt] gives the Court a general sense of the AM job . . ., it does not tell
  15   the Court with the requisite specificity how AMs actually spend their time.”); see
  16   also Cuevas v. Citizens Financial Group, Inc., 526 F. App’x 19, 21 (2d Cir. 2013)
  17   (vacating lower court’s decision to certify misclassification claims on behalf of
  18   assistant branch managers under New York law). Indeed, this Court has denied
  19   certification of a case against this very Defendant involving tellers finding too
  20   much variation amongst the class. Henderson, et al. v. JPMorgan Chase Bank,
  21   C.D. Cal. Case No. 2:11-cv-03428-PSG-PLA, Dkt. No. 116, Order Denying Class
  22   Certification, at p. 13 (“[T]he Court is concerned about the manageability of a
  23   class of thousands of employees at hundreds of branches with different job
  24   responsibilities depending on their title, location, assignment, and other factors.”).
  25         An additional area of risk is the arbitration agreements Chase had its
  26   employees sign. Approximately 80% of the class has signed some version of
  27   Chase’s arbitration agreement which contain class action and collective action
  28   waivers that repeatedly have been enforced by a number of courts including this
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   1   Court. Bello v. JPMorgan Chase Bank, Case No. 37-2013-00075469-CU-WT-NC
   2   (San Diego Sup. Ct. June 4, 2014); Hightower v. JPMorgan Chase Bank, N.A.,
   3   Case No. 11-cv-1802, Dkt. No. 140 (C.D. Cal. Jan. 28, 2014); Miguel v.
   4   JPMorgan Chase Bank, N.A., 2013 U.S. Dist. LEXIS 16865 (C.D. Cal. Feb. 5,
   5   2013) (Gutierrez, J.); Hwang v. JPMorgan Chase Bank, N.A., Case No. 11-cv-
   6   10782 (C.D. Cal. Aug. 16, 2012); Thompson v. JPMorgan Chase Bank, C.D. Cal.
   7   Case No. SACV 14-01181-JLS (JPRx); JPMorgan Chase Bank v. Jones, No. 15-
   8   1176, 2016 WL 1182153 (W.D. Wash. Mar. 28, 2016). Thus, Defendant’s
   9   arbitration posed a substantial risk as evidenced by the orders identified above.
  10         Beyond overcoming the arbitration agreements, achieving certification and
  11   prevailing on the merits, Plaintiffs faced the risk of holding onto any favorable
  12   judgment through appeal. This Counsel’s personal experience in Duran v. U.S.
  13   Bank N.A., 59 Cal.4th 1 (2014) perhaps best exemplifies the risk that Counsel
  14   undertook to deliver this result for the Class. Counsel herein was successful in
  15   obtaining certification for that case and subsequently prevailed at trial after eight
  16   years of litigation only to have the entire judgment and certification ultimately
  17   reversed by the California Supreme Court after an additional five years of
  18   litigation. The case was remanded back to the Superior Court where class
  19   certification was denied and the subsequent appeal unsuccessful after 17 years of
  20   active litigation. Thus, even prevailing at the trial court is no guarantee of
  21   recovery especially against a large corporate defendant like Chase. In essence, the
  22   risk Class Counsel assumed for the substantial benefit of the class was substantial
  23   by any measure.
  24         3.     The Skill Required and Quality of Work by Counsel
  25         Effective management of this case required a high level of skill and
  26   superior work-product. As evidenced by the declaration filed by Class Counsel, it
  27   is respectfully submitted that Class Counsel has unique skills and qualifications in
  28   the area of wage and hour class action litigation. Class Counsel has tried several
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   1   wage and hour class action cases which is extremely rare. Decl. of Wynne.
   2   Indeed, the first line of the Duran opinion confirms this fact, “We encounter here
   3   an exceedingly rare beast: a wage and hour class action that proceeded through
   4   trial to verdict.” Duran, 59 Cal. 4th at 1. In the contested attorney fee motion in
   5   Duran, the trial court made the following finding with respect to Class Counsel’s
   6   skill and experience in 2010:
   7            The Court finds that, Plaintiffs’ principal counsel, Edward J.
   8            Wynne, is a highly skilled and experienced trial attorney, with
   9            extensive class action experience and extensive recognized
  10            expertise in California’s overtime laws and the various exemptions
  11            employers use to try to avoid them. Based on the evidence before
  12            the Court including declarations submitted in support of Plaintiffs’
  13            Motion, the Court finds that Mr. Wynne is highly regarded among
  14            his peers for his skill, experience, and tenacity. The Court finds
  15            that given Mr. Wynne’s experience, demonstrated skill, and
  16            reputation, his $640 hourly rate is well within the range of rates
  17            charged by and awarded to similarly experienced and qualified
  18            attorneys in this area. The Court also finds that Mr. Wynne’s rate
  19            is substantially lower than the rates charged by his counterparts at
  20            large commercial firms.
  21   Decl. of Wynne, Ex. 1, Order re Attorney Fees in Duran, p. 27.
  22         While Duran is unquestionably a significant case in the areas of class
  23   certification, trial management, and wage & hour law, another equally significant
  24   case, Sav-On Drug Stores, Inc. v. Sup. Ct., 34 Cal. 4th 319 (2004), is also another
  25   case prosecuted by Class Counsel herein further highlighting Class Counsel’s skill
  26   and experience as noted by the trial court in Duran. Decl. of Wynne, Ex. 1, Order
  27   re Attorney Fees in Duran, p. 3
  28         In this case, Class Counsel demonstrated his skill and experience by
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   1   positioning this case so that it would settle on beneficial terms to the class.
   2   Specifically, Class Counsel made the tactical decision to hire Prof. Jon Krosnick
   3   to perform a survey of Class Members for whom Class Counsel had contact
   4   information. This decision demonstrates Class Counsel’s skill because, as is true
   5   in any survey, there are no guarantees the results would support the allegations.
   6   While Class Counsel was confident in the veracity of the complaint’s allegations,
   7   until such time as the allegations were tested – in this case through a disinterested
   8   third-party – there was no way of knowing whether the limited evidence Class
   9   Counsel had was truly representative of the Class. As it turned out, the survey did
  10   confirm the allegations. As a result, Class Counsel is of the opinion that the survey
  11   proved to be significant evidence not only supporting the Plaintiffs’ allegations on
  12   the merits but also supporting the allegations of class action. Class Counsel
  13   submits that this decision proved to be a significant factor in positioning the case
  14   on favorable terms to obtain the settlement that has been met with overwhelming
  15   support by the Class. Decl. of Wynne.
  16         Effective litigation of this case also called for significant skill in the area of
  17   wage and hour law. Defendant alleges the executive, administrative and
  18   “combination” exemptions. The executive and, especially, the administrative
  19   exemptions are complicated exemptions with multiple prongs. The “combination”
  20   exemption is seldom encountered in practice and as a result there is a dearth of
  21   authority around this claimed affirmed defense. Navigating these complicated and
  22   interlaced exemptions requires significant skill which Class Counsel demonstrated
  23   throughout these proceedings.
  24         Relatedly, Defendant had secured arbitration agreements with class action
  25   waivers. Class Counsel demonstrated significant skill by affirmatively attacking
  26   the agreements during the window of opportunity those agreements were
  27   vulnerable and capitalizing on that uncertainty to the benefit of the Class.
  28   Specifically, Class Counsel had his clients file charges with the NLRB which had
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   1   cast doubt on the enforceability of such agreements as a result of its decision in In
   2   Re D. R. Horton, Inc., 357 NLRB 2277 (2012), enf. denied, 737 F.3d 344 (5th Cir.
   3   2013) which was followed for a time in the Ninth Circuit pursuant to Morris v.
   4   Ernst & Young, LLP, 834 F.3d 975 (9th Cir. 2016), vacated, 894 F.3d 1093 (9th
   5   Cir. 2018). Class Counsel demonstrated exceptional skill by negotiating the
   6   settlement that is before this Court while the question of the enforceability of the
   7   class action waivers in Defendant’s arbitration agreements was in doubt before the
   8   Supreme Court’s very recent decision in Epic Systems Corp. v. Lewis, 138 S.Ct.
   9   1612 (May 21, 2018) which rejected the NLRB’s position on class action waivers.
  10         In addition, Class Counsel was faced with two competing class actions filed
  11   in the Southern District of New York: Varghese v. JP Morgan Chase and Taylor
  12   et al. v. JP Morgan Chase, S.D.N.Y. Consolidated Case No. 14 Civ. 1718 (PGG).
  13   While it is not uncommon in that situation to have the competing cases jockey for
  14   position, Class Counsel was able to effectively manage the relationship between
  15   the three firms and enter into global negotiations with Defendant which resulted in
  16   the settlement put before the Court. Decl. of Wynne
  17         4.     The Contingent Nature of the Fee
  18         Class Counsel took this case on a contingency fee basis. Courts have long
  19   recognized that the public interest is served by rewarding attorneys who assume
  20   representation on a contingent basis with an enhanced fee to compensate them for
  21   the risk that they might be paid nothing at all for their work. In Re Washington
  22   Public Power Supply System Sec. Litig., 19 F.3d 1291, 1299 (9th Cir. 1994).
  23         None of the named Plaintiffs have the financial means to pay Class Counsel
  24   on an hourly basis to prosecute this case. Thus, without the willingness of Class
  25   Counsel to take this case on a contingency fee basis, this case would not have
  26   been prosecuted and the Class would not have received anything.
  27         This lawsuit has been pending for over three and one-half years. During that
  28   time, Class Counsel’s office has put in approximately 1,100 hours on behalf of the
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   1   Class Members without any form of payment. Decl. of Wynne During that time,
   2   Class Counsel had to forego other cases and financial opportunities in order to
   3   prosecute this case on behalf of the Class Members. Decl. of Wynne Class
   4   Counsel’s efforts to date have been without compensation of any kind, and the fee
   5   has been wholly contingent upon the result achieved. Decl. of Wynne
   6         Class Counsel respectfully submits that given the risk of non-payment; the
   7   forfeiture of other business opportunities; and the lack of compensation for three
   8   and one-half years combined with the complexity of this case, the requested fee in
   9   this case is fair and reasonable.
  10         5.     Awards Made in Similar Cases
  11         Class Counsel submits that the request for attorney fees in the amount of
  12   33% of the common fund is justified as an upward departure from the benchmark
  13   of 25% on account of the complexity, the excellent results obtained, the risks
  14   undertaken, and the skill of the prosecution. The requested fee falls within the
  15   range of acceptable attorney fees in the Ninth Circuit for similar wage & hour
  16   class action. See, e.g., Stuart v. Radioshack Corp., supra, 2010 WL 3155645 at *5
  17   (33% in wage and hour case); Glass v. UBS Fin. Serv., Inc., 2007 WL 221862 at
  18   *4 (N.D. Cal. Jan. 26, 2007) (finding settlement of a wage and hour class actions
  19   up to 35% of the claimed damages to be reasonable in light of the uncertainties
  20   involved in the litigation); Vasquez v. Coast Valley Roofing, Inc., 266 F.R.D. 482,
  21   491 (E.D. Cal. 2010) (noting that a 33% is within the typical range of acceptable
  22   attorney fees in the 9th Circuit); In Re Pacific Enterprises Sec. Litig., 47 F.3d 373,
  23   379 (9th Cir. 1995) (affirming fee award equal to 33% of fund); Linney v. Cellular
  24   Alaska P’ship, 1997 WL 450064 at *6-7 (N.D. Cal. 1997) (approving a fee of
  25   33% of fund) In Re Activision Sec. Litig., 723 F. Supp. 1373, 1375 (ND. Cal.
  26   1989) (32.8% of fund).
  27         Other district and superior courts from the around the state who have first-
  28   hand knowledge of Class Counsel’s skill, experience, and the results obtained for
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   1   other class members have found that an award of one-third for attorneys’ fee is
   2   fair and reasonable. Decl. of Wynne. Some of those orders include the following:
   3         ● Kress v. PriceWaterhouseCoopers, E.D. Cal. Case 2:08-cv-00965-TLN-
   4   AC, April 19, 2018, Hon. Troy Nunley (33% fee awarded to Wynne Law Firm).
   5   Decl. of Wynne, Ex. 2A.
   6         ● Harris v. CUSO Financial Services, Inc., San Diego County Superior
   7   Court Case 37-2015-4960-CU-OE-CTL, September 21, 2017, Hon Richard E. L.
   8   Strauss (33% fee awarded to Wynne Law Firm). Decl. of Wynne, Ex. 3A.
   9         ● Lee v. Activision Blizzard, Inc., Los Angeles County Superior Court Case
  10   BC 575664, June 14, 2017, Hon. Maren E. Nelson (33% fee awarded to Wynne
  11   Law Firm). Decl. of Wynne, Ex. 4.
  12         ● Walsh v. Overton, Alameda County Superior Court Case RG 13679913,
  13   May 8, 2015, Hon. Wynne Carvill (33% fee awarded to Wynne Law Firm). Decl.
  14   of Wynne, Ex. 5A.
  15         ● Sarinana v. D.S. Waters of America, Inc., N.D. Cal. Case 3:13-cv-00905
  16   EMC, February 12, 2015, Hon. Edward M. Chen (33% fee awarded to Wynne
  17   Law Firm). Decl. of Wynne, Ex. 6A.
  18         ● Paparella v. JPMorgan Chase Bank, Orange County Superior Court Case
  19   30-2010-370146, August 15, 2014, Hon. Robert J. Moss (33% awarded to Wynne
  20   Law Firm). Decl. of Wynne, Ex. 7A.
  21         ● Aldo U.S. Wage & Hour Cases, Orange County Superior Court, JCCP
  22   No. 4581, October 24, 2012, Hon. Steven L. Perk (33% awarded to Wynne Law
  23   Firm). Decl. of Wynne, Ex. 8.
  24         Class Counsel submits that fee awards in other similar litigation of 33% –
  25   both prosecuted by Wynne Law Firm and others – demonstrate that an upward
  26   adjustment is customary and appropriate for this type of complex litigation and
  27   further supports the requested fee of one-third.
  28
                                                 13
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   1         6.      No Objection from the Class and Support for the Representative
                     Plaintiffs
   2
             There were no objections from any Class Member to the requested fee.
   3
       Class Counsel submits that the lack of objection from the Class Members further
   4
       demonstrates the reasonableness and fairness of Class Counsel’s fee request. See,
   5
       In re Wells Fargo Loan Processor Overtime Pay Litigation, 2011 WL 3352460, at
   6
       *10 (N.D. Cal., Aug. 2, 2011); In Ching, supra, the court commented that “the
   7
       lack of objection from the class after notice further demonstrates the
   8
       reasonableness and fairness of Class Counsel’s fee request. Id. at *8.
   9
             Finally, as evidenced by their declarations, the Class Representatives
  10
       strongly support Class Counsel’s Fee Request. Erami Decl., ¶¶ 14-16, McGlynn
  11
       Decl., ¶¶ 14-16; Sanchez Decl., ¶¶ 14-16.
  12
       C.    Plaintiffs’ Request For Attorneys’ Fees Is Reasonable By A Lodestar
  13
             Cross-Check.
  14
             Plaintiffs’ fee request is also reasonable based on the lodestar analysis as a
  15
       final “cross-check on the percentage method.” In re Washington Pub.Power
  16
       Supply Sys. Sec. Litig., 19 F.3d 1291, 1296-98 (1994). Where the lodestar method
  17
       is used as a cross-check, it can be performed with a less exhaustive cataloguing
  18
       and review of counsel’s hours. See In re Rite Aid Corp. Secs. Litig., 396 F.3d 294,
  19
       306 (3d Cir. 2005) (“The lodestar cross-check calculation need entail neither
  20
       mathematical precision nor bean-counting.”); In re Immune Response Sec. Litig.,
  21
       497 F.Supp.2d 1166 (S.D. Cal. 2007) (“Although counsel have not provided a
  22
       detailed cataloging of hours spent, the Court finds the information provided to be
  23
       sufficient for purposes of lodestar cross-check.”). The lodestar method is
  24
       calculated by multiplying “the number of hours reasonably expended on the
  25
       litigation … by a reasonable hourly rate.” In re Bluetooth, 654 F.3d 935, 941 (9th
  26
       Cir. 2011).
  27
  28
                                                14
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   1         1.     Class Counsels’ Hourly Rates Have Previously Been Approved.
   2         In terms of the hourly rate, Class Counsel has been approved, in both
   3   federal and state courts, inside and outside of California, at the hourly rate of $750
   4   since 2014. Decl. of Wynne. Likewise, Mr. Pickett has similarly been approved at
   5   the rate of $650 per hour since 2014 in a similar number of cases. Decl. of Wynne.
   6   Class Counsel has been approved at $750 per hour in the following actions:
   7         ●      Kress et al. v. PWC, E.D. Cal. Case 2:08-cv-00965-TLN-AC
   8                Order Granting Final Approval, April 19, 2018 (Dkt. 434), Hon. Troy
   9                L. Nunley. Decl. of Wynne, Ex. 2A.
  10                Declaration of Edward J. Wynne, March 16, 2018 (Dkt. 425-4). Decl.
  11                of Wynne, Ex. 2B.
  12         ●      Harris v. CUSO Financial, San Diego County Superior Court Case
  13                37-2015-4960-CU-OE-CTL
  14                Order Granting Final Approval, September 21, 2017, Hon. Richard
  15                E. L. Strauss. Decl. of Wynne, Ex. 3A.
  16                Declaration of Edward J. Wynne, July 21, 2017. Decl. of Wynne, Ex.
  17                3B.
  18         ●      Lapan et al. v. PVH Corp. et al., N.D. Cal. Case 13-cv-05006-LHK
  19                Order Granting Final Approval, January 21, 2016 (Dkt. 103), Hon.
  20                Lucy H. Koh. Decl. of Wynne, Ex. 9A.
  21                Declaration of Edward J. Wynne, January 13, 2016 (Dkt. 100). Decl.
  22                of Wynne, Ex. 9B.
  23         ●      Davis v. DS Waters of America, Inc., S.D. Cal. Case 14-cv-250-BAS
  24                Order Granting Final Approval, October 19, 2015 (Dkt. 67), Hon.
  25                Cynthia Bashant. Decl. of Wynne, Ex. 10A.
  26                Declaration of Edward J. Wynne, September 28, 2015 (ECF 61-8).
  27                Decl. of Wynne, Ex. 10B.
  28         ●      Brecher v. CGMI, S.D. Cal. Case 09-cv-1344 CAB (MDD)
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   1              Order Granting Final Approval, February 6, 2015 (Dkt. 147), Hon.
   2              Cathy A. Bencivengo. Decl. of Wynne, Ex. 11A.
   3              Declaration of Edward J. Wynne, November 7, 2014 (Dkt. 142-3).
   4              Decl. of Wynne, Ex. 11B.
   5        ●     Walsh v. Overton, Alameda County Sup. Ct. Case RG 13679913
   6              Order Granting Final Approval, May 8, 2015, Hon. Wynne S.
   7              Carvill. Decl. of Wynne, Ex. 5A.
   8              Declaration of J.E.B. Pickett, April 15, 2015. Decl. of Wynne, Ex.
   9              5B.
  10        ●     Sarinana v. DS Waters, Inc., N.D. Cal. Case 3:13-cv-00905-EMC
  11              Order Granting Final Approval, February 26, 2015 (Dkt. 134), Hon.
  12              Edward M. Chen. Decl. of Wynne, Ex. 6A.
  13              Declaration of Edward J. Wynne, February 2, 2015 (Dkt. 121). Decl.
  14              of Wynne, Ex. 6B.
  15        ●     Kholousi v. True Religion, Marin County Sup. Ct. Case Civ-1302055
  16              Order Granting Final Approval, February 13, 2015, Hon. Paul
  17              Haakenson. Decl. of Wynne, Ex. 12A.
  18              Declaration of Edward J. Wynne, January 30, 2015. Decl. of Wynne,
  19              Ex. 12B.
  20        ●     Paparella v. JPMorgan Chase Bank, Orange County Superior Court
  21              Case 30-2010-0370146,
  22              Order Granting Final Approval, August 25, 2014, Hon. Robert Moss.
  23              Decl. of Wynne, Ex. 7A.
  24              Declaration of Edward J. Wynne, August 1, 2014. Decl. of Wynne,
  25              Ex. 7B.
  26        ●     In re Citigroup Inc. Securities Litigation, S.D. New York, Lead Case
  27              09 MDL 2070 (SHS), 1:09-cv-07359-SHS
  28              Order Granting Final Approval, May 20, 2014 (Dkt. 60), Hon. Sidney
                                               16
                             PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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   1                H. Stein. Decl. of Wynne, Ex. 13A.
   2                Declaration of Edward J. Wynne, March 14, 2014 (Dkt. 55-7). Decl.
   3                of Wynne, Ex. 13B.
   4         Class Counsel submits that the rates for himself and Mr. Pickett are lower
   5   than what could be requested as it customary that attorney’s hourly rates will
   6   increase each year, yet Class Counsel has not done so for over four years. See,
   7   e.g., Pierce v County of Orange, 905 F.Supp.2d 1017, 1037-38 (C.D. Cal. 2012)
   8   (recognizing annual increase in hourly rates of “5% or 10% or even more”);
   9   Valdivia v Brown, 848 F.Supp.2d. 1141, 1143-44 (E.D. Cal. 2011) (approving
  10   increases up to 50% during two year period). Further, the rates requested are
  11   consistent with the rates approved of in Stuart v. Radioshack Corp., supra, 2010
  12   WL 3155645, for attorneys with similar skill and experience as Class Counsel. Id.
  13   at *6. In fact, the plaintiffs’ attorneys in Radioshack were Class Counsel’s co-
  14   counsel in Sav-On. Decl. of Wynne.
  15         2.     Class Counsel’s Lodestar
  16         Class Counsel has worked on this case for over three and one-half years.
  17   During this time, Class Counsels’ offices collectively invested 1,122.55 hours at
  18   this point in time in prosecuting this case on behalf of the Class. Decl. of Wynne.
  19   Class Counsel reasonably expects to incur an additional 35 hours in order to carry
  20   out all the terms of the settlement. Decl. of Wynne. Class Counsel will be
  21   spending this time on such activities as: preparing for and attending the hearing on
  22   final approval; conferring with the Settlement Administrator and reviewing its
  23   reports; communicating with the Plaintiffs; communicating with Class Members
  24   prior to and after final approval on a variety of issues including, but not limited to,
  25   the status of the settlement, status of their claim, explaining the settlement,
  26   handling lost checks, and address updates; communicating with defense counsel;
  27   resolving disputes; and, generally carrying out the terms and conditions of the
  28   settlement. Decl. of Wynne. As such, Class Counsel’s office will have invested
                                                 17
                               PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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   1   1,157.55 hours in prosecuting this case for the benefit of the class. Decl. of
   2   Wynne.
   3         Accordingly, Class Counsel’s lodestar is $730,377.50. The time spent and
   4   the fees incurred were reasonable and necessary for the successful prosecution of
   5   this case. Decl. of Wynne. Counsel’s detailed time records were kept
   6   contemporaneously. Decl. of Wynne. Due to the length of time this case has been
   7   pending and the amount and type of activities that were needed to be performed,
   8   not all time was captured in Counsel’s time records. Decl. of Wynne. Class
   9   Counsel estimates that up to 5% of the firm’s time was not recorded. Decl. of
  10   Wynne. A detail of Class Counsel’s time records is marked and attached to the
  11   Declaration of Edward J. Wynne as Ex. 14.
  12         A summary of hours and lodestar by biller is set forth below:
  13                                     WYNNE LAW FIRM
                                       LODESTAR SUMMARY
  14
                                                 Hourly   Total
  15                                                               Total Fees
                                                  Rate   Hours
  16              Edward J. Wynne                $750.00   868.90 $651,675.00
                  J.E.B. Pickett                 $650.00    38.35 $24,927.50
  17              Heidi Hall (Paralegal)         $250.00    196.8 $49,200.00
  18              Lesley Amberger (Paralegal)    $250.00       18   $4,500.00
                  Janice Berry (Legal Assistant) $150.00        .5     $75.00
  19
                                                         1,122.55 $730,377.50
  20
             3.      A Multiplier Is Appropriate.
  21
             In common fund cases, courts frequently apply multipliers to the lodestar to
  22
       reflect the risks involved, the complexity of the litigation, and other relevant
  23
       factors. See Vizcaino, 290 F.3d at 1051 (courts “routinely enhance[] the lodestar to
  24
       reflect the risk of non-payment in common fund cases”). Such an enhancement
  25
       “mirrors the established practice in the private legal market of rewarding attorneys
  26
       for taking the risk of nonpayment by paying them a premium over their normal
  27
       hourly rates for winning contingency cases.” Id.
  28
                                                18
                              PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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   1         Here, Class Counsel bore a particularly high contingent risk. Based on this
   2   risk, as well as the other relevant factors, the resulting multiplier of 3.67 on the
   3   lodestar cross-check is squarely within the range of multipliers that courts
   4   regularly approve as fair and reasonable. In Vizcaino, the Ninth Circuit affirmed a
   5   lodestar multiplier of 3.65, after analyzing a table of the most commonly applied
   6   multipliers. Vizcaino, 290 F.3d at 1051. This is within the “3-4 range [of]
   7   common” multipliers for sophisticated class actions. Van Vranken v. Atlantic
   8   Richfield, 901 F.Supp. 294, 298 (N.D. Cal 1995); see also, Wershba v. Apple
   9   Computer, Inc., 91 Cal.App.4th 224, 255 (2001) (multipliers can range from 2 to 4
  10   or even higher); In re Ret. Cases, 2003 WL 22506555, at *8 (Cal. Ct. App. Nov.
  11   4, 2003) (affirming 4.0 multiplier in determining statutory fees); Steiner v.
  12   American Broad. Co., 248 Fed.Appx. 780, 783 (9th Cir. 2007) (affirming fee
  13   award where the lodestar multiplier was 3.65).
  14         Numerous courts have found reasonable multipliers well-above the
  15   multiplier Class Counsel seeks here. For instance:
  16         ●      In Jordan v. Dept. Motor Vehicles, JAMS Ref. No. 1100040574,
  17   Arbitration Award and Decision, dated April 14, 2004, a panel of three
  18   arbitrators, including retired judges Daniel Weinstein and Charles Legge and
  19   retired Justice Edward J. Wallin, applied a 5.0 multiplier. Decl. of Wynne, Ex.
  20   15.
  21         ●      In Chau v. CVS RX Services, Inc., Los Angeles County Superior
  22   Court No. BC349224, a 3.8 multiplier was applied in a wage and hour class
  23   actions. Decl. of Wynne, Ex. 16.
  24         ●      In Kashmiri v. Regents of U.C., San Francisco Superior Court No.
  25   CGC-03-422747, the court approved a 3.7 multiplier to counsel’s lodestar. Decl.
  26   of Wynne, Ex. 17.
  27         ●      In In re Natural Gas Anti-Trust Cases, J.C.C.P. Nos. 4221, 4224,
  28   4226, and 4228, 4.5 and 3.32 multipliers were applied, for total fee of $50
                                                19
                              PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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   1   million; in fact, the court described the 3.32 multiplier as “extremely low.” Decl.
   2   of Wynne, Ex. 18.
   3         ●      In In re Pharmaceutical Cases, I, II, and III, J.C.C.P. Nos. 2969,
   4   2971, and 2972, a 5.23 multiplier was applied. Decl. of Wynne, Ex. 19.
   5         ●      In Glendora Community Redev. Agency v. Demeter, 155 Cal.App.3d
   6   465 (1984), a fee that effectively included a 12 multiplier was affirmed.
   7         ●      In Craft v. County of San Bernardino, 624 F.Supp.2d 1113, 1125
   8   (C.D. Cal. 2008), the court awarded a 5.2 multiplier; as the court noted, “there is
   9   ample authority for such awards resulting in multipliers in this range or higher”
  10   collecting cases with multipliers ranging from 4.5-19.6.
  11         Here, the application of a 3.67 multiplier is warranted given the significant
  12   results achieved for the Class and the substantial risks and complexity of the
  13   litigation, as higher multipliers are regularly approved in similar cases. Thus, the
  14   lodestar cross-check demonstrates that the $2,777,777 fee is fair and reasonable.
  15              CLASS COUNSEL’S COSTS SHOULD BE APPROVED
  16         Class Counsel requests that the Court grant final approval to Class
  17   Counsel’s request for reimbursement of actual costs incurred in prosecuting this
  18   action. Class Counsel’s out-of-pocket expenses total $54,665.13 which includes
  19   projected future costs of $610 incurred for courier and travel expenses for the
  20   instant hearing. Decl. of Wynne, Ex. 20.
  21         The requested costs of $54,665.13 were reasonably incurred and no Class
  22   Member has objected to the requested costs. Decl. of Wynne. A summary of my
  23   firm’s actual costs are as follows:
  24                          Cost Type                    Total Amount
                     Advertising                                    $471.76
  25
                     Document Copies\Download                       $881.17
  26                 Expert Fees                                  $31,973.79
  27                 Filing Fee                                     $435.00
                     Legal Research                                $3,412.85
  28                 Office Supplies                                  $24.96
                                                 20
                               PLAINTIFFS’ MEMORANDUM ISO MOTION FOR ATTORNEYS’ FEES AND COSTS
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   1                 Postage and Delivery                             $13.60
                     Postage\Courier                               $1,446.59
   2
                     Process Serving                                  $37.95
   3                 Professional Fees                             $6,250.00
   4                 Research                                      $1,696.90
                     Travel\Meals\Auto                             $8,020.56
   5                                                              $54,665.13
   6         All of the expenses were reasonably incurred in prosecuting the case and
   7   are reasonable in their amount. As a result, Class Counsel requests that the Court
   8   approve reimbursement of $54,665.13 for litigation expenses.
   9                                    CONCLUSION
  10         In light of the forgoing, Plaintiffs respectfully request that the Court award
  11   the requested attorney fees in the amount of $2,777,777 and costs in the amount of
  12   $54,665.13.
  13   Dated: August 10, 2018                       WYNNE LAW FIRM
  14
  15                                                /s/ Edward J. Wynne
                                                    Edward J. Wynne
  16                                                Class Counsel
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